                    Case 24-60191            Doc 1       Filed 04/28/24 Entered 04/28/24 13:11:05                              Desc Main
                                                           Document     Page 1 of 55

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                LifeBack Law Firm, P.A.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Kain & Scott, P.A.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  13 7th Avenue South
                                  Saint Cloud, MN 56301
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Stearns                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.lifebacklaw.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    LifeBack Law Firm, P.A.                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5411

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    LifeBack Law Firm, P.A.                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   LifeBack Law Firm, P.A.                                                     Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    LifeBack Law Firm, P.A.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 28, 2024
                                                  MM / DD / YYYY


                             X /s/ Wesley W. Scott                                                        Wesley W. Scott
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ JOHN D. LAMEY III                                                       Date April 28, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 JOHN D. LAMEY III 0312009
                                 Printed name

                                 LAMEY LAW FIRM, P.A.
                                 Firm name

                                 980 INWOOD AVE N
                                 OAKDALE, MN 55128-7094
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     651.209.3550                  Email address      JLAMEY@LAMEYLAW.COM

                                 0312009 MN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         LifeBack Law Firm, P.A.

United States Bankruptcy Court for the:     DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 28, 2024                  X /s/ Wesley W. Scott
                                                           Signature of individual signing on behalf of debtor

                                                            Wesley W. Scott
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name LifeBack Law Firm, P.A.
 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA                                                                               Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 BANK OF AMERICA                                     Unsecured                 Contingent                                                                        $20,000.00
 PO BOX 982284
 El Paso, TX
 79998-2284
 Christina Irving                                    Unsecured                 Contingent                                                                                $0.00
 c/o Matthew Tande                                                             Disputed
 Attorney
 443 Old Highway 8
 NW Ste 208
 Hoglund,                                            Arbitration Award/                                                                                        $290,000.00
 Chwialkowski &                                      Judgment
 Mrozik                                              Pending
 1781 West County
 Road B
 PO Box 130938
 Saint Paul, MN
 55113
 Jalen Burns                                         Unsecured                 Contingent                                                                                $0.00
 1295 Northland Dr                                                             Disputed
 Ste 250
 Saint Paul, MN
 55120
 John and Robin                                      Unsecured                 Contingent                                                                          $2,185.00
 Bissette                                                                      Disputed
 1427 109th Ave NW
 Coon Rapids, MN
 55433
 Kain + Henehan                                      POSSIBLE CLAIM            Disputed                                                                                  $0.00
 703 W Saint
 Germain
 Saint Cloud, MN
 56301-3534
 Margaret Henehan                                    POSSIBLE CLAIM            Disputed                                                                                  $0.00
 3703 34th Avenue
 South
 Minneapolis, MN
 55406


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    LifeBack Law Firm, P.A.                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 PicRights                                           Unsecured                 Disputed                                                                            $2,000.00
 International Inc
 Hudson Bay Centre
 2 Bloor Street East
 Ste 3500
 Toronto ON M4W
 1A8 Canada
 Wesley W. Scott                                     Non-Priority Wages                                                                                        $293,846.17
 3663 74th Street SE
 Clear Lake, MN
 55319
 William P. Kain                                     POSSIBLE CLAIM            Disputed                                                                                  $0.00
 2003 Pleasant
 Avenue
 Saint Cloud, MN
 56303




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Fill in this information to identify the case:

 Debtor name            LifeBack Law Firm, P.A.

 United States Bankruptcy Court for the:                       DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,181,944.08

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,181,944.08


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,181,506.15


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           293,846.17

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           314,185.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,789,537.32




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name        LifeBack Law Firm, P.A.

United States Bankruptcy Court for the:    DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.        Cash on hand                                                                                                                      $150.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.    Liberty Business Checking Account              Checking                        0273                                    $19,374.37


                  Liberty - File Fee Savings
                  ($71,020.10)(File fees held in trust for
                  clients; listed for informative purposes,
          3.2.    not part of the bankruptcy estate)             Savings                         4360                                             $0.00




          3.3.    Liberty - PS Savings                           Savings                         1073                                  $128,293.68




          3.4.    Bremer Bank - Checking                         Checking                        7118                                     $7,091.00



                  Bremer Bank - Northern Integrity
          3.5.    Checking                                       Checking                        0598                                         $85.00




Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                            page 1
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Debtor           LifeBack Law Firm, P.A.                                                  Case number (If known)
                 Name

                   Liberty - LLC Trust Account (not
                   property of the debtor, client funds
          3.6.     held in trust, balance $6222.66)                  Trust Account                         1792                   $0.00




          3.7.     Blaze Credit Union                                Checking                              0100                 $390.00




          3.8.     Blaze Credit Union Savings Account                Savings                               0101                  $10.03




          3.9.     Bremer Bank                                       Savings                                                      $0.00



          3.10
          .    Bremer Bank                                           Savings                                                      $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                               $155,394.08
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   Rental deposits owned on Minneapolis ($1150.00), St. Paul ($800) , and Duluth ($700)
                   Leases. Firm has collected and hold in trust a deposit from firm tenant occupying our
                   EP office (holding $1,100.00)(listed for informative purposes, not part of the bankruptcy
          7.1.     estate). Total: $3,750.00.                                                                                  $2,650.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment
                   Rental contract with tenant on debtor's Eden Prairie Location (Tenant has advised they
          8.1.     will vacate space on April 30, 2024)                                                                           $0.00




9.        Total of Part 2.                                                                                                 $2,650.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                             page 2
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Debtor       LifeBack Law Firm, P.A.                                                        Case number (If known)
             Name


          11b. Over 90 days old:                    1,118,945.00       -                           139,945.00 =....                      $979,000.00
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                           $979,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                                     Valuation method used      Current value of
                                                                                                     for current value          debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership


          15.1.   Northern Integrity Collection Services, LLC                   100            %                                                $0.00



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                                                   $0.00
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used     Current value of
                                             physical inventory            debtor's interest         for current value         debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 3
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Debtor      LifeBack Law Firm, P.A.                                                 Case number (If known)
            Name

         copy paper, envelopes,
         postage, pens and
         pencils, clips and
         paperclipes, staples,
         post-its, markers, paper
         towels, toilet paper,
         coffee, cups, silverware,
         miscellaneous hand
         tools, tacs, nails,
         ladders (4ft, 6ft x 2, and
         8ft), tape, sanitizer,
         soaps, tissue, business
         cards, several fans and
         several space heaters,
         Books, magazines,
         Bankruptcy Code books
         (new and old),
         miscellanous wall
         pictures and decor,
         miscellaneous seasonal
         decorations, pop, water,
         snacks, miscellaneous
         decorations; numerous
         clocks, 40+ waste
         baskets, numerous coat
         racks, numerous
         extension cords,
         cleaning products,
         numerous brooms and
         shovels, salt. Several
         coffee makers and
         Keurig coffee makers
         with 10 boxes of Keurig
         coffee/tea/hot chocolate
         cups. Boxes, folders,
         numerous shredders
         and mini-fridges, fullsize
         fridge, numerous
         scissors, calendars, and
         rubberbands. Desk
         pen/pencil holders and
         paper trays. Phone call
         log books. Legal pads;
         business cards for staff.
         Numerous battery and
         electric calculators.                                                    $0.00     Liquidation                        $1,200.00




23.      Total of Part 5.                                                                                                 $1,200.00
         Add lines 19 through 22. Copy the total to line 84.

24.      Is any of the property listed in Part 5 perishable?
             No
            Yes

25.      Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                     50.00 Valuation method       Liquidation        Current Value              10.00

26.      Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No

Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                page 4
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Debtor       LifeBack Law Firm, P.A.                                                        Case number (If known)
             Name


             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          Attorney and staff desks and chairs, lobby
          chairs, massage chairs, end tables, book
          shelves, lounge chairs and couches for 8
          locations.                                                                      $0.00     Liquidation                         $22,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers (both desk (37) and lap top)
          numerous monitors, I pads, (35) PolyCom
          phones, all firm software. Chargers and cords;
          Numerous flat screen tv's mounted on walls
          inside offices.                                                                 $0.00     Liquidation                         $19,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $41,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below. (see above entries)

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 5
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Debtor       LifeBack Law Firm, P.A.                                                     Case number (If known)
             Name

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Numerous mini-fridges, full size fridge, and
          several microwave ovens and toasters.                                        $0.00                                                  $400.00




51.       Total of Part 8.                                                                                                                $400.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used     Current value of
          property                              extent of              debtor's interest             for current value         debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Debtor has leases on
                   8 locations in
                   Minnesota (St.
                   Cloud, Brainerd,
                   Duluth, Maple Grove,
                   Eden Prairie, Eagan,
                   St. Paul, and
                   Minneapolis) (Debtor
                   to assume all leases         Vendee's
                   on all 8 locations)          Interest                               $0.00         Liquidation                                   $0.00




56.       Total of Part 9.                                                                                                                    $0.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
             No
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                            page 6
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Debtor        LifeBack Law Firm, P.A.                                                 Case number (If known)
              Name


             Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                       Net book value of        Valuation method used     Current value of
                                                                     debtor's interest        for current value         debtor's interest
                                                                     (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Trademarks for name, slogans, and monthly
           newsletter (Minnesota Bankruptcy Buzz);
           Copyright to book: "Filing Bankruptcy Sucks,
           Your Lawyer Should Not!"; and LifeBack Law
           Firm; Website; On hold music and statements.                             $0.00     Liquidation                          $1,000.00



61.        Internet domain names and websites
           agostolawoffice.com
           baxterbankruptcy.com
           brainerdbankruptcy.com
           buffalomnbankruptcy.com
           detroitlakesbankruptcy.com
           elkriverbankruptcy.com
           hutchinsonbankruptcy.com
           kainandscott.com
           kainscott.com
           littlefallsbankruptcy.com
           lundkainscott.com
           maplegrovebankruptcy.com
           mnbankruptcy.net
           monticellobankruptcy.com
           sartellbankruptcy.com
           stcloud-bankruptcy.com
           stcloudbankruptcy.com
           wilmarbankruptcy.com
           lifebacklaw.com                                                          $0.00     Liquidation                            $500.00



62.        Licenses, franchises, and royalties




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 7
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Debtor      LifeBack Law Firm, P.A.                                               Case number (If known)
            Name

         Has a license to use:

         (Debtor will assume all licenses)

         Google Map Listings with reviews (8)

         Google Adwords
         Google Analytics
         Google Search Console
         ClickCease
         Hubspot
         CallRail
         Lawmatics
         BestCase
         QuickBooks Desktop
         QuickBooks Time
         Zoom
         TABS
         PracticeMaster
         ADOBE
         Hubspot
         Lawmatics
         SnapEngage
         Sales Messaging
         Microsoft Suite
         Signnow
         Lexis Nexis
         Callrail
         Wistia
         Abacus
         Sage
         CIN LEGAL (Stretto)
         Lexcharge
         Authorize
         MCRO
         Pacer
         Kelly Blue Book
         NDC
         Email Sign In
         Converting JPG to PDF

         Vast majority of these licenses are not
         transferrable.                                                          $0.00                                   $0.00



63.      Customer lists, mailing lists, or other compilations
         owns a list of Minnesota professionals (email
         addresses and names) and a list of former
         clients names and email addresses                                       $0.00                                 $200.00



64.      Other intangibles, or intellectual property

65.      Goodwill
         Good Will                                                               $0.00    Liquidation                  $500.00



66.      Total of Part 10.                                                                                         $2,200.00
         Add lines 60 through 65. Copy the total to line 89.


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                     page 8
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              Name

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

           Term Life Insurance policies for all employees                                                                                   $0.00



           Disability Insurance policies on all employees                                                                                   $0.00



           Health Insurance Policies on employees                                                                                           $0.00



           Business insurance                                                                                                               $0.00



           Malpractice insurance                                                                                                            $0.00



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claims against Anthony Shelton, Margaret Henehan,
           William Kain, Kain + Henehan; using LifeBack Law
           Firm's name in their marketing.                                                                                            Unknown
           Nature of claim         Breach of fiduciary duties,
                                   tortious interference w/
                                   contract. relations & more
           Amount requested                              $0.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 9
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Debtor      LifeBack Law Firm, P.A.                                                Case number (If known)
            Name

         Claims against Caroline Wallace and Elizabeth Lopau
         for defamation, misappropriation of trade secrets,
         breach of contract, and tortious interference with
         contract/economic advantage.                                                                                   Unknown
         Nature of claim          Tortious Interference with
                                  contractual relations
         Amount requested                               $0.00


         Claim for Civil theft of company assets against Caroline
         Wallace                                                                                                        Unknown
         Nature of claim           Civil theft of corporate assets
         Amount requested                                $0.00


         Claim against Hanover insurance company for refusing
         to provide coverage for redaction cases in bankruptcy
         court                                                                                                          Unknown
         Nature of claim         Breach of contract
         Amount requested                             $0.00


         Claims against Hoglund & Mrozik, P.L.L.C., Robert
         Hoglund, and Jennifer Mrozik under Minnesota law and
         Lanham Act for fraud, false advertising, and deceptive
         trade practices                                                                                                Unknown
         Nature of claim
         Amount requested                                    $0.00


         Claims against Kelsey Quarberg for breach of fiduciary
         duties, tortious interference with contract, and
         defamation                                                                                                     Unknown
         Nature of claim           breach of fiduciary duties,
                                   tortious interference with
                                   contract, and defamation
         Amount requested                               $0.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

         Owns a contingent claim to ERC credit (net value: 250k)                                                        Unknown
         Nature of claim        ERC
         Amount requested                     $250,000.00



76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership
         Numerous interior "LifeBack Law Firm" signs and
         exterior signage on our St. Cloud, Brainerd, Maple
         Grove and Eagan locations; signage outside office
         doors and interior directories. Most interior/exterior
         signs cannot be removed without significant damage to
         walls/surfaces.                                                                                                 $100.00




Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                          page 10
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Debtor      LifeBack Law Firm, P.A.                                                 Case number (If known)
            Name


78.      Total of Part 11.                                                                                               $100.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                         page 11
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Debtor          LifeBack Law Firm, P.A.                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $155,394.08

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $2,650.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $979,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $1,200.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $41,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                           $400.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $2,200.00

90. All other assets. Copy line 78, Part 11.                                                    +                       $100.00

91. Total. Add lines 80 through 90 for each column                                                         $1,181,944.08            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,181,944.08




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 12
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Fill in this information to identify the case:

Debtor name         LifeBack Law Firm, P.A.

United States Bankruptcy Court for the:           DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   3LM Capital Partners LLC                     Describe debtor's property that is subject to a lien                 $888,131.00               $888,131.00
      Creditor's Name                              Blanket Lien - All Assets
      733 Third Avenue-Suite
      1900
      New York, NY 10017
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      01/20/2021                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Wesley W. Scott                              Describe debtor's property that is subject to a lien                 $293,375.15               $293,375.15
      Creditor's Name                              Blanket Lien - All Assets
      3663 74th Street SE
      Clear Lake, MN 55319
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      01/11/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      Debtor to assume
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor      LifeBack Law Firm, P.A.                                                            Case number (if known)
            Name

          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.



                                                                                                                        $1,181,506.1
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    5

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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Fill in this information to identify the case:

Debtor name        LifeBack Law Firm, P.A.

United States Bankruptcy Court for the:         DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          IRS                                                 Check all that apply.
          PO BOX 932700                                          Contingent
          Louisville, KY 40293-2700                              Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Priority Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          MINNESOTA DEPT OF REV                               Check all that apply.
          COLLECTION DIVISION                                    Contingent
          PO BOX 64564                                           Unliquidated
          Saint Paul, MN 55164-0564                              Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Priority Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 4
                                                                                                              29617
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Debtor       LifeBack Law Firm, P.A.                                                                    Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                $293,846.17     $15,150.00
          Wesley W. Scott                                      Check all that apply.
          3663 74th Street SE                                     Contingent
          Clear Lake, MN 55319                                    Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim: Priority Wages ($15,150)(Balance Unsecured Non-Priority)
          April 2021 to present
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,000.00
          BANK OF AMERICA                                                        Contingent
          PO BOX 982284                                                          Unliquidated
          El Paso, TX 79998-2284
                                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Christina Irving                                                       Contingent
          c/o Matthew Tande Attorney                                             Unliquidated
          443 Old Highway 8 NW Ste 208
                                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $290,000.00
          Hoglund, Chwialkowski & Mrozik                                         Contingent
          1781 West County Road B                                                Unliquidated
          PO Box 130938                                                          Disputed
          Saint Paul, MN 55113
                                                                             Basis for the claim: Arbitration Award/ Judgment Pending
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Jalen Burns                                                            Contingent
          1295 Northland Dr Ste 250                                              Unliquidated
          Saint Paul, MN 55120
                                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,185.00
          John and Robin Bissette                                                Contingent
          1427 109th Ave NW                                                      Unliquidated
          Coon Rapids, MN 55433
                                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 4
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             Name

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Kain + Henehan                                                       Contingent
          703 W Saint Germain                                                  Unliquidated
          Saint Cloud, MN 56301-3534
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: POSSIBLE CLAIM
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Margaret Henehan                                                     Contingent
          3703 34th Avenue South                                               Unliquidated
          Minneapolis, MN 55406
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: POSSIBLE CLAIM
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          PicRights International Inc                                          Contingent
          Hudson Bay Centre                                                    Unliquidated
          2 Bloor Street East Ste 3500
                                                                               Disputed
          Toronto ON M4W 1A8 Canada
                                                                           Basis for the claim: Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes

3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          US ATTORNEY                                                          Contingent
          600 US COURTHOUSE                                                    Unliquidated
          300 S FOURTH ST                                                      Disputed
          Minneapolis, MN 55415
                                                                           Basis for the claim: Notice
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes


3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          William P. Kain                                                      Contingent
          2003 Pleasant Avenue                                                 Unliquidated
          Saint Cloud, MN 56303
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: POSSIBLE CLAIM
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       Higbee & Associates
          80 South 8th Street Ste 900                                                               Line     3.8
          Minneapolis, MN 55402
                                                                                                           Not listed. Explain

4.2       PERRY & PERRY, PLLP
          ATTN SHAWN M PERRY ESQ                                                                    Line     3.3
          1650 HIGHWAY 100 SOUTH STE 336
                                                                                                           Not listed. Explain
          ST LOUIS PARK, MN 55416


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
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Debtor      LifeBack Law Firm, P.A.                                                     Case number (if known)
            Name


5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                    293,846.17
5b. Total claims from Part 2                                                              5b.   +   $                    314,185.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                      608,031.17




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 4 of 4
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Fill in this information to identify the case:

Debtor name       LifeBack Law Firm, P.A.

United States Bankruptcy Court for the:     DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease for office space
           lease is for and the nature of        in Minneapolis
           the debtor's interest                 (Assume)

               State the term remaining          Expires in May, 2025               2124 DUPONT, LLC
                                                                                    c/o Maven CRE
           List the contract number of any                                          1 East 19th Street, Suite 200
                 government contract                                                Minneapolis, MN 55403


2.2.       State what the contract or            ANSWERING SERVICE
           lease is for and the nature of        - ASSUME
           the debtor's interest

               State the term remaining                                             ALERT COMMUNICATIONS
                                                                                    3601 CALLE TECATE
           List the contract number of any                                          SECOND FLOOR CAMARILLO
                 government contract                                                Camarillo, CA 93012-5058


2.3.       State what the contract or            LAWYERS
           lease is for and the nature of        PROFESSIONAL
           the debtor's interest                 LIABILITY INSURANCE
                                                 (ASSUME)
               State the term remaining                                             Berkley Insurance Company
                                                                                    550 WEST JACKSON BLVD
           List the contract number of any                                          SUITE 500
                 government contract                                                Chicago, IL 60661


2.4.       State what the contract or            LEGAL SERVICES -
           lease is for and the nature of        ASSUME
           the debtor's interest

               State the term remaining                                             CAMERON LAW OFFICE
                                                                                    5353 GAMBLE DRIVE
           List the contract number of any                                          SUITE 300
                 government contract                                                Minneapolis, MN 55416




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 7
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Debtor 1 LifeBack Law Firm, P.A.                                                       Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                         whom the debtor has an executory contract or unexpired
                                                                         lease

2.5.      State what the contract or        Contract to represent
          lease is for and the nature of    thousands of clients;
          the debtor's interest             Debtor to assume ALL
                                            contracts to represent
                                            clients at time of filing.
             State the term remaining

          List the contract number of any                                    Clients
                government contract


2.6.      State what the contract or        INTERNET (ASSUME)
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                        Comcast
                                                                             Attn: Bankruptcy
          List the contract number of any                                    1701 JFK Boulevard
                government contract                                          Philadelphia, PA 19103


2.7.      State what the contract or        Lease for office space
          lease is for and the nature of    in St. Paul (Assume)
          the debtor's interest

             State the term remaining
                                                                             DACBLD, LLC (COMMONWEALTH)
          List the contract number of any                                    374 SELBY AVENUE
                government contract                                          Saint Paul, MN 55102


2.8.      State what the contract or        Contract will be
          lease is for and the nature of    assumed
          the debtor's interest

             State the term remaining
                                                                             Gorilla Webstactics
          List the contract number of any                                    3370 N Hayden Rd 123-660
                government contract                                          Scottsdale, AZ 85250


2.9.      State what the contract or        BUSINESS
          lease is for and the nature of    INSURANCE/WORKER
          the debtor's interest             S COMP INSURANCE -
                                            ASSUME
             State the term remaining
                                                                             Hanover Insurance Group
          List the contract number of any                                    95 Glastonbury Blvd, Suite 400
                government contract                                          Glastonbury, CT 06033




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 7
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Debtor 1 LifeBack Law Firm, P.A.                                                 Case number (if known)
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        LEGAL SERVICES -
          lease is for and the nature of    ASSUME
          the debtor's interest

             State the term remaining
                                                                        Lamey Law Firm
          List the contract number of any                               980 Inwood Ave N
                government contract                                     Saint Paul, MN 55128


2.11.     State what the contract or        HVAC work on
          lease is for and the nature of    business premises -
          the debtor's interest             Assume

             State the term remaining
                                                                        McDowall Company
          List the contract number of any                               1431 Prosper Dr
                government contract                                     Waite Park, MN 56387


2.12.     State what the contract or        Maintenance contract
          lease is for and the nature of    at debtor's Eden Prairie
          the debtor's interest             Location (Assume)

             State the term remaining
                                                                        Metro Sales, Inc
          List the contract number of any                               250 N River Rdg Cir., Ste 100
                government contract                                     Burnsville, MN 55337


2.13.     State what the contract or        Maintenance contract
          lease is for and the nature of    at debtor's Maple grove
          the debtor's interest             Location (Assume)

             State the term remaining
                                                                        Metro Sales, Inc
          List the contract number of any                               1640 E. 78th Street
                government contract                                     Minneapolis, MN 55423


2.14.     State what the contract or        Maintenance contract
          lease is for and the nature of    at debtor's Eagan, MN
          the debtor's interest             location (Assume)

             State the term remaining
                                                                        Metro Sales, Inc
          List the contract number of any                               1640 E. 78th Street
                government contract                                     Minneapolis, MN 55423




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 3 of 7
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        Maintenance contract
          lease is for and the nature of    at debtor's on St. Paul
          the debtor's interest             Copy machine (Reject)

             State the term remaining       Expires in October
                                            2024                        Metro Sales, Inc.
          List the contract number of any                               2911 Clearwater Road
                government contract                                     Saint Cloud, MN 56301


2.16.     State what the contract or        Maintenance contract
          lease is for and the nature of    at debtor's Brainerd,
          the debtor's interest             MN office (Assume)

             State the term remaining
                                                                        Metro Sales, Inc.
          List the contract number of any                               14091 Baxter Dr. #116
                government contract                                     Baxter, MN 56425


2.17.     State what the contract or        Lease on postage
          lease is for and the nature of    meter located in
          the debtor's interest             debtor's Maple Grove,
                                            MN location (Reject)
             State the term remaining       Expires January, 2027
                                                                        Quadient Leasing USA Inc.
          List the contract number of any                               478 Wheelers Farms Road
                government contract                                     Milford, CT 06461


2.18.     State what the contract or        Lease on postage
          lease is for and the nature of    meter at debtor's St.
          the debtor's interest             Cloud, MN location
                                            (Reject)
             State the term remaining       Expires October, 2026
                                                                        Quadient Leasing USA Inc.
          List the contract number of any                               478 Wheelers Farms Road
                government contract                                     Milford, CT 06461


2.19.     State what the contract or        Lease on postage
          lease is for and the nature of    meter located in
          the debtor's interest             debtor's Eagan, MN
                                            office (Reject)
             State the term remaining       Expires in June, 2024
                                                                        Quadient Leasing USA Inc.
          List the contract number of any                               478 Wheelers Farms Road
                government contract                                     Milford, CT 06461




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 4 of 7
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Debtor 1 LifeBack Law Firm, P.A.                                                 Case number (if known)
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.20.     State what the contract or        Lease on postage
          lease is for and the nature of    meter located at
          the debtor's interest             Debtor's Brainerd, MN
                                            location (Reject)
             State the term remaining       Expires in June 2024
                                                                         Quadient Leasing USA Inc.
          List the contract number of any                                478 Wheelers Farms Road
                government contract                                      Milford, CT 06461


2.21.     State what the contract or        Impress
          lease is for and the nature of    Subscription/mail
          the debtor's interest             service (Reject)

             State the term remaining                                    Quadient, Inc.
                                                                         Dept 3689
          List the contract number of any                                PO Box 123689
                government contract                                      Dallas, TX 75312-3689


2.22.     State what the contract or        Garbage service to St.
          lease is for and the nature of    Cloud MN Location at
          the debtor's interest             13 7th Avenue South,
                                            St. Cloud, MN 56301
                                            (Debtor to reject this
                                            contract)
             State the term remaining
                                                                         Republic
          List the contract number of any                                700 40th Ave NE
                government contract                                      Sauk Rapids, MN 56379


2.23.     State what the contract or        INTERNET/PHONE
          lease is for and the nature of    LINE (ASSUME)
          the debtor's interest

             State the term remaining
                                                                         Spectrum
          List the contract number of any                                PO BOX 94188
                government contract                                      Palatine, IL 60094


2.24.     State what the contract or        PAPER SHREDDING
          lease is for and the nature of    (ASSUME)
          the debtor's interest

             State the term remaining
                                                                         STERICYCLE, INC.
          List the contract number of any                                2355 WAUKEGAN ROAD
                government contract                                      Deerfield, IL 60015




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 5 of 7
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Debtor 1 LifeBack Law Firm, P.A.                                                 Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.25.     State what the contract or        LEGAL SERVICES
          lease is for and the nature of    (ASSUME)
          the debtor's interest

             State the term remaining                                    Taft, Stettinius, Hollister, L
                                                                         2200 IDS Center
          List the contract number of any                                80 South 8th Street
                government contract                                      Minneapolis, MN 55402-2157


2.26.     State what the contract or        PHONE SERVICE
          lease is for and the nature of    (Assume)
          the debtor's interest

             State the term remaining
                                                                         TDS (Phone)
          List the contract number of any                                PO BOX 94510
                government contract                                      Palatine, IL 60094-4510


2.27.     State what the contract or        Lease on office space
          lease is for and the nature of    in Duluth (Assume)
          the debtor's interest

             State the term remaining       Expires in March, 2025       Tech Village, LLC
                                                                         DBA Executive Suites, LLC
          List the contract number of any                                11 E. Superior Street Ste #540
                government contract                                      Duluth, MN 55802


2.28.     State what the contract or        Lease on space in St.
          lease is for and the nature of    Cloud, Brainerd, Maple
          the debtor's interest             Grove, Eden Prairie,
                                            and Eagan (All to be
                                            assumed)
             State the term remaining
                                                                         Thirteen-Seventh LLP
          List the contract number of any                                13 7th Avenue South
                government contract                                      Saint Cloud, MN 56301


2.29.     State what the contract or        Copier lease at debtor's
          lease is for and the nature of    Eden Prairie location -
          the debtor's interest             REJECT

             State the term remaining
                                                                         U.S. Bank
          List the contract number of any                                PO Box 790448
                government contract                                      Saint Louis, MO 63179-0448




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 6 of 7
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Debtor 1 LifeBack Law Firm, P.A.                                                 Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.30.     State what the contract or        Copier lease contract at
          lease is for and the nature of    debtor's Maple Grove
          the debtor's interest             location (Assume)

             State the term remaining
                                                                        U.S. Bank
          List the contract number of any                               PO Box 790448
                government contract                                     Saint Louis, MO 63179-0408


2.31.     State what the contract or        Copier lease contract at
          lease is for and the nature of    debtor's Eagan location
          the debtor's interest             (Assume)

             State the term remaining
                                                                        U.S. Bank
          List the contract number of any                               PO Box 790448
                government contract                                     Saint Louis, MO 63179-0408


2.32.     State what the contract or        Copier lease contract at
          lease is for and the nature of    debtor's Saint Paul
          the debtor's interest             location (Reject)

             State the term remaining
                                                                        U.S. Bank
          List the contract number of any                               PO Box 790448
                government contract                                     Saint Louis, MO 63179-0408


2.33.     State what the contract or        Copier lease contract at
          lease is for and the nature of    debtor's Brainerd
          the debtor's interest             location (Assume)

             State the term remaining
                                                                        U.S. Bank
          List the contract number of any                               PO Box 790448
                government contract                                     Saint Louis, MO 63179-0408


2.34.     State what the contract or        CLOUD SERVER/ IT
          lease is for and the nature of    (Assume)
          the debtor's interest

             State the term remaining                                   UpTime
                                                                        7500 FLYING CLOUD DRIVE
          List the contract number of any                               SUITE 640
                government contract                                     Eden Prairie, MN 55344




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 7 of 7
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Fill in this information to identify the case:

Debtor name      LifeBack Law Firm, P.A.

United States Bankruptcy Court for the:    DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Wesley W. Scott             3663 74th Street SE                                       BANK OF AMERICA                    D
                                      Clear Lake, MN 55319                                                                         E/F       3.1
                                      CO-DEBTOR
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         LifeBack Law Firm, P.A.

United States Bankruptcy Court for the:    DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                            $1,292,411.02
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                            $3,342,129.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                            $2,533,177.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:
      From 1/01/2024 to Filing Date                                                   SETTLEMENT PAYMENT                                      $10,000.00


      From the beginning of the fiscal year to filing date:
      From 1/01/2024 to Filing Date                                                   RENTAL INCOME                                            $4,400.00


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

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         None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
              Wesley W. Scott                                      LAST 90                          $63,815.36           Secured debt
              3663 74th Street SE                                  DAYS                                                  Unsecured loan repayments
              Clear Lake, MN 55319
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.2.
              Bank of America                                      LAST 90                         $583,233.01           Secured debt
              PO BOX 15796                                         DAYS                                                  Unsecured loan repayments
              Wilmington, DE 19886
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.3.
              Harren Companies                                     LAST 90                          $19,365.00           Secured debt
              20326 MN Highway 15                                  DAYS                                                  Unsecured loan repayments
              Kimball, MN 55353
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.4.
              Liberty Bank                                         LAST 90                          $46,773.84           Secured debt
              PO Box 40                                            DAYS                                                  Unsecured loan repayments
              Saint Cloud, MN 56302
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.5.
              3LM CAPITAL PARTNERS, LLC                            LAST 90                          $28,372.55           Secured debt
              733 THIRD AVENUE                                     DAYS                                                  Unsecured loan repayments
              SUITE 1900
                                                                                                                         Suppliers or vendors
              New York, NY 10017
                                                                                                                         Services
                                                                                                                         Other


      3.6.
              McDowall Company                                     April 5, 2024                    $26,000.00           Secured debt
              1431 Prosper Dr                                                                                            Unsecured loan repayments
              Waite Park, MN 56387                                                                                       Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other HVAC units



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Wesley W. Scott                                      Last 12                          $63,815.36           Secured loan payments
              3663 74th Street SE                                  Months
              Clear Lake, MN 55319
              Managing Partner

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Hoglund, Chwialkowski &                  Civil other                 HENNEPIN COUNTY                               Pending
              Mrozik, P.L.L.C. n/k/a Hoglund                                       Minneapolis, MN 55487                         On appeal
              & Mrozik, P.L.L.C. vs. Kain &
                                                                                                                                 Concluded
              Scott, P.A. n/k/a LifeBack Law
              Firm, P.A.
              27-C-23-12137V

      7.2.    LifeBack Law Firm, P.A. vs.              Civil Other (Case           HENNEPIN COUNTY                               Pending
              Danielle Lin and Timothy                 Dismissed)                  Minneapolis, MN 55487                         On appeal
              Tonga
                                                                                                                                 Concluded
              27-CV-23-16445

      7.3.    LifeBack Law Firm, P.A. and              Civil other                 HENNEPIN COUNTY                               Pending
              Wesley Scott vs. Margaret R.                                         Minneapolis, MN 55487                         On appeal
              Henehan, William P. Kain,
                                                                                                                                 Concluded
              Anthony Shelton, and Kain +
              Henehan LLC.
              27-CV-23-17037




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Debtor       LifeBack Law Firm, P.A.                                                        Case number (if known)



              Case title                          Nature of case               Court or agency's name and            Status of case
              Case number                                                      address
      7.4.    William P. Kain, Margaret           Civil Other (Partly          County of Stearns                        Pending
              Hennehan, and Kelsey B.             dismissed and                705 Courthouse Square                    On appeal
              Quarberg vs. LifeBack Law           partly pending)              Saint Cloud, MN 56303
                                                                                                                        Concluded
              Firm, P.A. f/n/a Kain & Scott,
              P.A., a Minnesota
              Corporation,
              Thirteen-Seventh, LLP, a
              Minnesota limited liability
              partnership, and Wesley W.
              Scott.
              73-CV-21-3830

      7.5.    LifeBack Law Firm, P.A. and         Civil Other                  HENNEPIN COUNTY                          Pending
              Wesley Scott vs. Kelsey B.                                       Minneapolis, MN 55487                    On appeal
              Quarberg
                                                                                                                        Concluded
              27-CV-23-17025

      7.6.    LifeBack Law Firm, P.A. f/n/a       Contract                     County of Stearns                        Pending
              Kain & Scott, P.A.,                                              705 Courthouse Square                    On appeal
              Thirteen-Seventh, LLP, and                                       Saint Cloud, MN 56303
                                                                                                                        Concluded
              Wesley Scott vs. Bremer
              Bank, National Association
              vs. William Kain

              Case Dismissed
              73-CV-23-8568

      7.7.    Bremer Bank, N.A. vs.               Foreclosure                  County of Crow Wing                      Pending
              THIRTEEN-SEVENTH, LLP,                                                                                    On appeal
              Wesley Scott, William Kain,
                                                                                                                        Concluded
              LifeBack Law Firm, P.A. f/n/a
              Kain & Scott, P.A.

              Case dismissed
              18-CV-23-3916

      7.8.    Bremer Bank, N.A. vs.               Foreclosure                  HENNEPIN COUNTY                          Pending
              THIRTEEN-SEVENTH, LLP,                                           Minneapolis, MN 55487                    On appeal
              Wesley Scott, William Kain,
                                                                                                                        Concluded
              LifeBack Law Firm, P.A. f/n/a
              Kain & Scott, P.A.

              Case dismissed
              27-CV-23-16841

      7.9.    Bremer Bank, N.A. vs.               Foresclosure                 County of Dakota                         Pending
              THIRTEEN-SEVENTH, LLP,                                           1560 Hwy 55                              On appeal
              Wesley Scott, William Kain,                                      Hastings, MN 55033-2343
                                                                                                                        Concluded
              LifeBack Law Firm, P.A. f/n/a
              Kain & Scott, P.A.

              Case dismissed
              19HA-CV-23-4690

      7.10 Mary R. Jensen, United States          Adversary                    District of Minnesota                    Pending
      .    Trustee vs. Wesley W. Scott            Proceeding                                                            On appeal
              and LifeBack Law Firm, P.A.
                                                                                                                        Concluded

              Case dismissed
              23-3041



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             Case title                               Nature of case               Court or agency's name and                 Status of case
             Case number                                                           address
      7.11 LifeBack Law Firm, P.A. f/k/a                                           HENNEPIN COUNTY                               Pending
      .    Kain & Scott, P.A. vs.                                                  Minneapolis, MN 55487                         On appeal
             Morrison & Sund PLLC, Kain
                                                                                                                                 Concluded
             & Henehan LLC, and Brandi
             Babatz

             Partly dismissed and partly
             pending
             27-CV-21-13291

      7.12 LifeBack Law Firm, P.A. f/k/a              Private Arbitration          Private Arbitration                           Pending
      .    Kain & Scott, P.A. v. Kain +               of various claims            Arbitrator K. Boylan                          On appeal
             Henehan LLC, William P. Kain             pending in cases
                                                                                                                                 Concluded
             and Margaret Henehan v.                  identified in 7.4
             LifeBack Law Firm P.A. et al             and 7.11 above


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                  Dates given                            Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      Court filings missing proper                    Payment received from insurance carrier                    9/21/23                          $10,000.00
      redaction techniques


Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address


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                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Lamey Law Firm                                                                                          March 8,
                980 Inwood Ave N                                                                                        2024 -
                Saint Paul, MN 55128                                                                                    Retainer                 $10,000.00

                Email or website address
                www.brokemn.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services                If debtor provides meals
                                                       the debtor provides                                                         and housing, number of
                                                                                                                                   patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.
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                 Debtor collects social security numbers, phone numbers, email
                 addresses, and other personal identifiers used in filing bankruptcy.
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.     LIBERTY BANK MINNESOTA                  XXXX-4519                     Checking                 04/04/2024                                 $0.00
                2842 2ND STREET                                                       Savings
                Saint Cloud, MN 56301
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other

      18.2.     LIBERTY BANK MINNESOTA                  XXXX-2078                     Checking                 04/04/2024                              $100.00
                2842 2ND STREET                                                       Savings
                Saint Cloud, MN 56301
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other

      18.3.     LIBERTY BANK MINNESOTA                  XXXX-6093                     Checking                 04/04/2024                              $134.35
                2842 2ND STREET                                                       Savings
                Saint Cloud, MN 56301
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

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         None

      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None




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   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Jane Kedrowski                                                                                                     June 2018 to
                    13 -7th Avenue South                                                                                               present
                    Saint Cloud, MN 56301
      26a.2.        Haga Kommer CPA                                                                                                    January 2012 to
                    216 Park Avenue South                                                                                              present
                    Suite 101
                    Saint Cloud, MN 56301

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Haga Kommer CPA                                                                                                    January 2012 -
                    216 Park Avenue South                                                                                              present
                    Suite 101
                    Saint Cloud, MN 56301
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.2.        Hanover Insurance                                                                                                  June 2018 to
                    622 Roosevelt Road                                                                                                 present
                    Saint Cloud, MN 56301
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.3.        State of Minnesota                                                                                                 July 2022
                    Department of Revenue
                    PO Box 64447 - BKY
                    Saint Paul, MN 55164-0447

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Haga Kommer CPA
                    216 Park Avenue South
                    Suite 101
                    Saint Cloud, MN 56301
      26c.2.        LifeBack Law Firm
                    13 7th Ave N
                    Saint Cloud, MN 56301

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

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      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Wesley W. Scott                        3663 74th Street SE                                 Managing                                60%
                                             Clear Lake, MN 55319                                Partner/Director/President

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Margaret Henehan                       3703 34TH AVE S                                     Shareholder                             10%
                                             Minneapolis, MN 55406

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      William P. Kain                        2003 Pleasant Avenue                                Shareholder                             30%
                                             Saint Cloud, MN 56303



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      William Kain                           2003 Pleasant Avenue                                Former Director and                Director from
                                             Saint Cloud, MN 56303                               current shareholder                2004 to March 4,
                                                                                                 (30%)                              2024
      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Kelsey Quarberg                        2610 Jersey Ave South                               Former 10% partner
                                             Minneapolis, MN 55426


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.




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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Wesley W. Scott                                                                                                         Ordinary Course
      .    3663 74th Street SE                         Repayment on Secured Loans                                Last 12           Secured Loan
             Clear Lake, MN 55319                      ($63,815.36)                                              Months            Payments

             Relationship to debtor
             Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund
   CB05740- LifeBack Law Firm, P.A. 401(k) Plan                                                        EIN:        XX-XXXXXXX

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 28, 2024

/s/ Wesley W. Scott                                             Wesley W. Scott
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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LOCAL FORM 1007-1
REVISED 06/16
                                                        United States Bankruptcy Court
                                                                     District of Minnesota
 In re      LifeBack Law Firm, P.A.                                                                           Case No.
                                                                                   Debtor(s)                  Chapter    11


                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
bankruptcy case is as follows:

For legal Services, I have agreed to accept ............................                     $   $375.00 / hr.
Prior to the filing of this statement I have received                     ..............     $   10,000.00
Balance Due ............................................................................     $   to be determined


2.   The source of the compensation paid to me was:
           Debtor                               Other (specify)

3.   The source of the compensation to be paid to me is:
           Debtor                                 Other (specify)

4.      I have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

        I have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people or entities sharing in
the compensation, is attached.

5.    In return for the above-disclosed fee, together with such further fee, if any, as is provided in the written contract
required by 11 U.S.C. §528(a)(1), I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
         petition in bankruptcy;

         b.. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

         c.. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
         thereof;

         d.. Representation of the debtor in contested bankruptcy matters; and

         e.. Other services reasonably necessary to represent the debtor(s).

6. Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirements in the Statement of
Financial Affairs to disclose all payments made, or property transferred, by or on behalf of the debtor to any person,
including attorneys, for consultation concerning debt consolidation or reorganization, relief under bankruptcy law, or
preparation of a petition in bankruptcy. I have reviewed the debtor's disclosures and they are accurate and complete to the
best of my knowledge.



                                                                       CERTIFICATION
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       I certify that the foregoing, together with the written contract required by 11 U.S.C. §528(a)(1), is a complete
statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy case.

Dated: April 26, 2024                                      Signature of Attorney
                                                           /s/ JOHN D. LAMEY III
                                                           JOHN D. LAMEY III 0312009




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                                                                   District of Minnesota
 In re    LifeBack Law Firm, P.A.                                                                                 Case No.
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                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Margaret Henehan
3703 34th Avenue South
Minneapolis, MN 55406

Wesley W. Scott
3663 74th Street SE
Clear Lake, MN 55319

William P. Kain
2003 Pleasant Avenue
Saint Cloud, MN 56303


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date April 28, 2024                                                      Signature /s/ Wesley W. Scott
                                                                                        Wesley W. Scott

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                          District of Minnesota
 In re   LifeBack Law Firm, P.A.                                                                  Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     April 28, 2024                                 /s/ Wesley W. Scott
                                                         Wesley W. Scott/President
                                                         Signer/Title
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                      2124 DUPONT, LLC
                      C/O MAVEN CRE
                      1 EAST 19TH STREET, SUITE 200
                      MINNEAPOLIS MN 55403



                      3LM CAPITAL PARTNERS LLC
                      733 THIRD AVENUE-SUITE 1900
                      NEW YORK NY 10017



                      ALERT COMMUNICATIONS
                      3601 CALLE TECATE
                      SECOND FLOOR CAMARILLO
                      CAMARILLO CA 93012-5058



                      BANK OF AMERICA
                      PO BOX 982284
                      EL PASO TX 79998-2284



                      BERKLEY INSURANCE COMPANY
                      550 WEST JACKSON BLVD
                      SUITE 500
                      CHICAGO IL 60661



                      CAMERON LAW OFFICE
                      5353 GAMBLE DRIVE
                      SUITE 300
                      MINNEAPOLIS MN 55416



                      CHRISTINA IRVING
                      C/O MATTHEW TANDE ATTORNEY
                      443 OLD HIGHWAY 8 NW STE 208



                      CLIENTS




                      COMCAST
                      ATTN: BANKRUPTCY
                      1701 JFK BOULEVARD
                      PHILADELPHIA PA 19103
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                  DACBLD, LLC (COMMONWEALTH)
                  374 SELBY AVENUE
                  SAINT PAUL MN 55102



                  GORILLA WEBSTACTICS
                  3370 N HAYDEN RD 123-660
                  SCOTTSDALE AZ 85250



                  HANOVER INSURANCE GROUP
                  95 GLASTONBURY BLVD, SUITE 400
                  GLASTONBURY CT 06033



                  HIGBEE & ASSOCIATES
                  80 SOUTH 8TH STREET STE 900
                  MINNEAPOLIS MN 55402



                  HOGLUND, CHWIALKOWSKI & MROZIK
                  1781 WEST COUNTY ROAD B
                  PO BOX 130938
                  SAINT PAUL MN 55113



                  IRS
                  PO BOX 932700
                  LOUISVILLE KY 40293-2700



                  JALEN BURNS
                  1295 NORTHLAND DR STE 250
                  SAINT PAUL MN 55120



                  JOHN AND ROBIN BISSETTE
                  1427 109TH AVE NW
                  COON RAPIDS MN 55433



                  KAIN + HENEHAN
                  703 W SAINT GERMAIN
                  SAINT CLOUD MN 56301-3534
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                  LAMEY LAW FIRM
                  980 INWOOD AVE N
                  SAINT PAUL MN 55128



                  MARGARET HENEHAN
                  3703 34TH AVENUE SOUTH
                  MINNEAPOLIS MN 55406



                  MCDOWALL COMPANY
                  1431 PROSPER DR
                  WAITE PARK MN 56387



                  METRO SALES, INC
                  250 N RIVER RDG CIR., STE 100
                  BURNSVILLE MN 55337



                  METRO SALES, INC
                  1640 E. 78TH STREET
                  MINNEAPOLIS MN 55423



                  METRO SALES, INC.
                  2911 CLEARWATER ROAD
                  SAINT CLOUD MN 56301



                  METRO SALES, INC.
                  14091 BAXTER DR. #116
                  BAXTER MN 56425



                  MINNESOTA DEPT OF REV
                  COLLECTION DIVISION
                  PO BOX 64564
                  SAINT PAUL MN 55164-0564



                  PERRY & PERRY, PLLP
                  ATTN SHAWN M PERRY ESQ
                  1650 HIGHWAY 100 SOUTH STE 336
                  ST LOUIS PARK MN 55416
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                  PICRIGHTS INTERNATIONAL INC
                  HUDSON BAY CENTRE
                  2 BLOOR STREET EAST STE 3500
                  TORONTO ON M4W 1A8 CANADA



                  QUADIENT LEASING USA INC.
                  478 WHEELERS FARMS ROAD
                  MILFORD CT 06461



                  QUADIENT, INC.
                  DEPT 3689
                  PO BOX 123689
                  DALLAS TX 75312-3689



                  REPUBLIC
                  700 40TH AVE NE
                  SAUK RAPIDS MN 56379



                  SPECTRUM
                  PO BOX 94188
                  PALATINE IL 60094



                  STERICYCLE, INC.
                  2355 WAUKEGAN ROAD
                  DEERFIELD IL 60015



                  TAFT, STETTINIUS, HOLLISTER, L
                  2200 IDS CENTER
                  80 SOUTH 8TH STREET
                  MINNEAPOLIS MN 55402-2157



                  TDS (PHONE)
                  PO BOX 94510
                  PALATINE IL 60094-4510



                  TECH VILLAGE, LLC
                  DBA EXECUTIVE SUITES, LLC
                  11 E. SUPERIOR STREET STE #540
                  DULUTH MN 55802
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                  THIRTEEN-SEVENTH LLP
                  13 7TH AVENUE SOUTH
                  SAINT CLOUD MN 56301



                  U.S. BANK
                  PO BOX 790448
                  SAINT LOUIS MO 63179-0448



                  U.S. BANK
                  PO BOX 790448
                  SAINT LOUIS MO 63179-0408



                  UPTIME
                  7500 FLYING CLOUD DRIVE
                  SUITE 640
                  EDEN PRAIRIE MN 55344



                  US ATTORNEY
                  600 US COURTHOUSE
                  300 S FOURTH ST
                  MINNEAPOLIS MN 55415



                  WESLEY W. SCOTT
                  3663 74TH STREET SE
                  CLEAR LAKE MN 55319



                  WILLIAM P. KAIN
                  2003 PLEASANT AVENUE
                  SAINT CLOUD MN 56303
